
658 S.E.2d 272 (2008)
JOKER CLUB, LLC
v.
James E. HARDIN, Jr., District Attorney, 14th Judicial District
No. 304P07.
Supreme Court of North Carolina.
January 24, 2008.
Robert F. Orr, Asheville, Edwin M. Speas, John Ward O'Hale, Raleigh, Allen W. Powell, for Joker Club, LLC.
David Adinolfi, II, Assistant Attorney General, for James E. Hardin, Jr.
Prior report: ___ N.C.App. ___, 643 S.E.2d 626.

ORDER
Upon consideration of the petition filed on the 3rd day of July 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
EDMUNDS, J., recused.
